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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


In re Ex Parte Application of STATE CORPORATION
DEPOSIT INSURANCE AGENCY on behalf of                              Case No. 21 Misc. 800 (PKC)
INTERNATIONAL BANK OF ST. PETERSBURG for an
Order to Conduct Discovery for Use in Foreign                                 ORDER
Proceedings Pursuant to 28 U.S.C. § 1782.




        The Court, having reviewed the application for an order under 28 U.S.C. § 1782 to

conduct discovery for use in foreign proceedings, the memorandum of law in support thereof, the

petition, and the declaration of O. Andrew F. Wilson, dated November 1, 2021 (the “Wilson

Declaration”) and the exhibits thereto, finds that (1) the statutory requirements of 28 U.S.C.

§ 1782 are satisfied, and (2) the factors identified by the United States Supreme Court in Intel

Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241 (2004), weigh in favor of granting

Petitioner’s application. It is therefore:

        ORDERED that Petitioner is granted leave to serve the subpoena annexed as Exhibit B to

the Wilson Declaration; and it is

        FURTHER ORDERED that the documents requested in the subpoena annexed as Exhibit

B to the Wilson Declaration shall be produced within 21 days of service of the subpoenas.

        The Clerk shall terminate the motion (Doc 4) and close the matter.



        Dated: November 5, 2021                    SO ORDERED.
